     Case 2:13-cr-00352-GMN-PAL              Document 100           Filed 09/21/15     Page 1 of 1



 1    DANIEL G. BOGDEN
      United States Attorney
 2    AMBER M. CRAIG
      Assistant United States Attorney
 3    333 Las Vegas Blvd. South, Suite 5000
      Las Vegas, Nevada 89101
 4    PHONE: (702) 388-6336
      FAX: (702) 388-6698
 5
                              UNITED STATES DISTRICT COURT
 6                                 DISTRICT OF NEVADA
                                          -oOo-
 7    UNITED STATES OF AMERICA,               )
                                              )    No. 2:13-cr-352-GMN-PAL
 8                    Plaintiff,              )
                                              )
 9    vs.                                     )    MOTION TO DISMISS
                                              )    CRIMINAL INDICTMENT
      GEORGE FLORES,          ,               )    AND ORDER THEREON
10                                            )
                      Defendants.             )
11
                      COMES NOW the United States of America, by and through DANIEL G. BOGDEN,
12
      United States Attorney, and AMBER M. CRAIG, Assistant United States Attorney, and files this
13
      Motion for leave to dismiss the Criminal Indictment, pursuant to Fed. R. Crim. P. 48(a), as against
14
      Defendant George Flores only. Upon review of the entire record, the United States has determined
15
      that, in the best interests of justice, the foregoing Criminal Complaint should be dismissed against
16
      Defendant Flores without prejudice.
17
                      WHEREFORE, the United States requests that this Court confer its leave, as required
18
      under Rule 48(a) of Federal Rules of Criminal Procedure, and grant this motion to dismiss the
19
      Criminal Indictment, as against Defendant Flores only, without prejudice.
20
             DATED this 2nd day of September, 2015.
21
                           ORDER                                 Respectfully Submitted,
22          No opposition having been filed by Defendant,        DANIEL G. BOGDEN
     George Flores, the Government's Motion to Dismiss           United States Attorney
23   Criminal Indictment (ECF No. 99) is hereby                   /s/ Amber M. Craig
     GRANTED.
                                                                 AMBER M. CRAIG
            IT
            IT ISIS HEREBY
                    HEREBY ORDERED
                              ORDERED thatthat the
                                                the Criminal
                                                    Criminal
24                                                               Assistant United States Attorney
      Indictment only as to Defendant, George Flores
     Indictment   only as to Defendant, George    Flores (ECF
                                                          (ECF
     No.  6), is DISMISSED    without prejudice.
      No. 6), is DISMISSED without prejudice.
           DATED this 21st day of September, 2015. 1
                 ________________________________
                 Gloria M. Navarro, Chief Judge
                 United States District Court
